              Case 16-44770-mxm13
Office of the Standing  Chapter 13 Trustee   Doc 48 Filed 05/15/18     Entered 05/15/18 15:30:14          Page 1 of 3
7001 Blvd 26, Ste 150
North Richland Hills, TX 76180
Telephone: (817) 916-4710

                                              IN THE UNITED STATES BANKRUPTCY COURT
                                                FOR THE NORTHERN DISTRICT OF TEXAS
                                                        FORT WORTH DIVISION

IN RE:                                                               Case No. 16-44770-MXM

                                                                     Pre-Hearing Conference: 8/31/2018 8:30 AM
CILFREDO GARCES JR (xxx-xx-4668)
TRACIE MARIE GARCES (xxx-xx-0465)
120 PRIVATE RD 3387
PARADISE, TX 76073
                                                                     CHAPTER 13
Debtors

                       NOTICE TO DEEM MORTGAGE CURRENT OR, ALTERNATIVELY, NOTICE OF AMOUNT DEEMED
                                      NECESSARY TO CURE (INCLUDING NOTICE OF HEARING)
                                  (Mid Case Mortgage Notice per Local Bankruptcy Rule 3002.1-1)

                                                  RESPONSE REQUIRED BY CREDITOR
 RE: BSI FINANCIAL SERVICES, Court Claim No. 8, Account No. 4172, Property: 120 PR 3387

                                                      TO ALL PARTIES IN INTEREST

 PURSUANT TO LOCAL RULE 3002.1-1, THE CHAPTER 13 TRUSTEE, PAM BASSEL, FILES THIS NOTICE TO DEEM MORTGAGE CURRENT OR,
 ALTERNATIVELY, NOTICE OF AMOUNT DEEMED NECESSARY TO CURE ("MORTGAGE NOTICE").

 A SCHEDULING ORDER WILL BE SERVED BY THE BANKRUPTCY CLERK WHICH WILL ESTABLISH SPECIFIC, IMPORTANT, AND MANDATORY DATES
 AND DEADLINES CONCERNING THIS MORTGAGE NOTICE, AS WELL AS OTHER REQUIREMENTS ("SCHEDULING ORDER"). IF THERE IS ANY CONFLICT
 BETWEEN THE SCHEDULING ORDER AND THIS MORTGAGE NOTICE, THE SCHEDULING ORDER WILL CONTROL.

 PURSUANT TO LOCAL BANKRUPTCY RULE 3002.1-1, ON OR BEFORE SIXTY (60) DAYS FROM THE DATE OF SERVICE OF THIS MORTGAGE NOTICE,
 THE HOLDER OF A CLAIM COVERED BY THIS MORTGAGE NOTICE SHALL FILE A WRITTEN RESPONSE WITH THE CLERK OF THE COURT AT 128 U.S.
 COURTHOUSE, 10TH & LAMAR ST., ROOM 147, FORT WORTH, TEXAS, 76102 & SHALL SERVE THE RESPONSE ON THE DEBTORS, DEBTORS'
 ATTORNEY AND THE TRUSTEE AND ANY OTHER PARTY IN INTEREST. THE RESPONSE SHALL INDICATE WHETHER THE HOLDER DISPUTES THE
 INFORMATION CONTAINED IN THIS MORTGAGE NOTICE. THE RESPONSE SHALL ALSO ITEMIZE ANY CURE AMOUNTS OR POST-PETITION
 ARREARAGES THAT THE HOLDER CONTENDS EXIST ON THE DATE OF THE RESPONSE. THE DEBTORS MAY FILE A REPLY WITHIN NINETY (90) DAYS
 FROM THE DATE OF THE FILING OF THIS MORTGAGE NOTICE.

 PURSUANT TO LOCAL BANKRUPTCY RULE 3002.1-1, THE COURT SHALL, AFTER NOTICE AND HEARING, DETERMINE WHETHER OR NOT THE
 DEBTORS ARE CURRENT ON ALL REQUIRED POST-PETITION AMOUNTS. IF THE HOLDER OF A CLAIM FAILS TO RESPOND AND/OR THE DEBTORS
 FAIL TO REPLY, THE COURT MAY MAKE THIS DETERMINATION BY DEFAULT. AN ORDER SHALL BE ISSUED REFLECTING ANY DETERMINATION BY
 THE COURT.

 IF A RESPONSE AND/OR REPLY IS TIMELY FILED, A HEARING ON THIS MORTGAGE NOTICE SHALL BE DEEMED REQUESTED. THE PRE-HEARING
 CONFERENCE SHALL BE HELD AT 8:30 AM ON August 31, 2018 AT 7001 BLVD 26, SUITE150, NORTH RICHLAND HILLS, TEXAS, 76180. UNLESS THIS
 MATTER IS RESOLVED BY THE TIME OF THE PRE-HEARING CONFERENCE, A HEARING BEFORE THE COURT ON THIS MORTGAGE NOTICE SHALL BE
 SET FOR 8:30 AM, ON Septem ber 20, 2018 AT THE U.S. BANKRUPTCY COURT, 501 W 10TH STREET, RM 128, FORT WORTH, TEXAS.

 THE ENTRY OF ANY ORDER BY THE COURT ON THIS MORTGAGE NOTICE, WHETHER BY DEFAULT OR OTHERWISE, SHALL PRECLUDE THE HOLDER
 OF THE CLAIM AND THE DEBTORS FROM CONTESTING THE AMOUNTS SET FORTH IN THE ORDER IN ANY CONTESTED MATTER OR ADVERSARY
 PROCEEDING IN THIS CASE OR IN ANY OTHER MATTER, MANNER, OR FORUM AFTER A DISCHARGE IN THIS CASE, UNLESS THE COURT
 DETERMINES, AFTER NOTICE AND HEARING, THAT THE FAILURE TO RESPOND AND/OR REPLY WAS SUBSTANTIALLY JUSTIFIED OR IS HARMLESS.

                                                          PLAN DELINQUENCY

 To the Trustee's know ledge, the Debtors have a current PLAN PAYMENT DELINQUENCY am ount of $2,202.00.




                                                                                                            Mid-Case 18-22
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                                                             PRE-PETITION

                                                       SUMMARY OF PAYMENTS

BSI FINANCIAL SERVICES

Claim Type: Mortgage Pre Arrs - Pro Rata                         Trustee Claim #1                      Claim Amount: $25,103.92

     TOTAL DISBURSED                  (Principal Paid + Interest Paid)               Total Paid               Principal Amount Due:
                                      $5,498.28 + $0.00 =                            $5,498.28                 $19,605.64



                                                                                                     $27,857.46           ***Total ongoing claim

                                                   ONGOING MORTGAGE PAYMENT

                                                       SUMMARY OF PAYMENTS
BSI FINANCIAL SERVICES
Claim Type: Mortgage Ongoing                                     Trustee Claim #2

     TOTAL DISBURSED                  (Principal Paid + Interest Paid)               Total Paid               ($20,651.55)

                                      $20,651.55 + $0.00 =                          $20,651.55
     Payments made Mar 2017 through May 2018.



                                                            POST-PETITION

                                                       SUMMARY OF PAYMENTS

BSI FINANCIAL SERVICES

Claim Type: Mortgage Gap - Pro Rata                              Trustee Claim #3                      Claim Amount: $2,753.54

     TOTAL DISBURSED                  (Principal Paid + Interest Paid)               Total Paid               Principal Amount Due:
                                      $2,753.54 + $0.00 =                            $2,753.54                 $0.00



                                                                                                     $27,857.46           ***Total ongoing claim



MONTHLY ONGOING POST-PETITION MORTGAGE PAYMENTS

The CURRENT MONTHLY ONGOING POST-PETITION MORTGAGE PAYMENT is to be paid to the Mortgage Lender through disbursements
by the Chapter 13 Trustee. Subject to Rule 3002.1(f)-(h), if the Conduit Debtors are current on Plan Payments to the Trustee or the
payments due pursuant to any wage directive, the Mortgage Loan shall be deemed current post-petition.

IF A RESPONSE IS NOT FILED, THE DEBTORS' ONGOING POST-PETITION MORTGAGE PAYMENTS WILL BE DEEMED CURRENT.
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    Date: 05/15/2018                                                               RESPECTFULLY SUBMITTED,

                                                                                   /s/ Pam Bassel
                                                                                   Pam Bassel, Trustee
                                                                                   State Bar No. 01344800
                                                                                   Office of the Standing Chapter 13 Trustee
                                                                                   7001 Blvd 26, Ste 150
                                                                                   North Richland Hills, TX 76180
                                                                                   Telephone: (817) 916-4710


                                                          CERTIFICATE OF SERVICE

         The undersigned does hereby certify that a true and correct copy of the foregoing was sent to all parties as listed below on May 15,
2018, either electronically or via U.S. First Class Mail.




        BSI FINANCIAL SERVICES, PO BOX 679002, DALLAS, TX 75267-9002
        BSI FINANCIAL, 1425 GREENWAY DR STE 400, IRVING, TX 75038
        CILFREDO GARCES JR, TRACIE MARIE GARCES, 120 Private Rd 3387, Paradise, TX 76073
        RUBIN and ASSOCIATES PC, 13601 PRESTON RD STE 500E, DALLAS, TX 75240
